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                                   )
ALEXANDER STYLLER, INTEGRATED      )
COMMUNICATIONS & TECHNOLOGIES,     )
INC., JADE CHENG, JASON YUYI, CATHY)
YU, CAROLINE MARAFAO CHENG,        )
PUSHUN CHENG, CHANGZHEN NI,        )
JUNFANG YU, MEIXIANG CHENG,        )
FANGSHOU YU, and CHANGHUA NI,      )
                                   )
                 Plaintiffs,
                                   )
v.                                 ) Civil Action No. 1:16-CV-10386-LTS
                                   )
HEWLETT-PACKARD FINANCIAL          )
SERVICES COMPANY, HEWLETT-         )
PACKARD FINANCIAL SERVICES (INDIA) )
PRIVATE LIMITED, HP INC., HEWLETT  )
PACKARD ENTERPRISE COMPANY, and )
DAVID GILL,                        )
                                   )
                 Defendants.       )
                                   )
               [PROPOSED] AMENDED SCHEDULING ORDER

       Plaintiffs and Defendants having filed a Joint and Unopposed Motion to Amend the

Scheduling Order, and the Court having reviewed the motion, upon due consideration, the

motion is hereby GRANTED.

       The Court enters the following deadlines:

                      Event                                           Date
 Close of deposition discovery.                    January 29, 2021
 Medical expert disclosures due.                   February 1, 2021
 Non-medical expert disclosures for parties        March 1, 2021
 bearing the burden of proof.
 Defendants to submit to Plaintiffs a letter       March 1, 2021
 providing details of proposed Rule 35 Medical
 Examinations.
 Deadline for Defendants to complete medical       April 1, 2021
 examinations of Plaintiffs.

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Non-medical rebuttal expert disclosures for           April 1, 2021
parties not bearing the burden of proof.
Medical rebuttal expert disclosures due.              May 3, 2021
Close of expert discovery.                            June 1, 2021
Final day to file dispositive motions.                July 1, 2021
Final day to oppose dispositive motions.              August 2, 2021
Final day to reply to dispositive motions.            August 15, 2021
Pretrial filings to commence on a schedule set by     90 days after ruling on dispositive
the Court at a later date (including Daubert          motions
motions and motions in limine).


SO ORDERED.

DATED:

                                             Hon. Leo T. Sorokin, U.S. District Court Judge




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